           Case 2:20-cv-04687-CDJ Document 7 Filed 10/15/20 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

STANLEY E. KORNAFEL,                      :
    Plaintiff,                            :
                                          :
      v.                                  :      CIVIL ACTION NO. 20-CV-4687
                                          :
G. MICHAEL GREEN, et al.,                 :
      Defendants.                         :

                                         ORDER

      AND NOW, this 15th day of October, 2020, upon consideration of Plaintiff Stanley E.

Kornafel’s Motion to Proceed In Forma Pauperis (ECF No. 5), and pro se Complaint (ECF No.

1) it is ORDERED that:

      1.      Leave to proceed in forma pauperis is GRANTED pursuant to 28 U.S.C. § 1915.

      2.      The Complaint is DEEMED filed.

      3.      The Complaint is DISMISSED WITH PREJUDICE for the reasons in the

Court’s Memorandum.

      4.      The Motion to Dismiss of Defendants Spiros E. Angelos, Christine F. Gannon,

and G. Michael Green (ECF No. 4) is DISMISSED AS MOOT.

      5.      The Clerk of Court shall CLOSE this case.

                                          BY THE COURT:


                                          /s/ C. Darnell Jones, II
                                          C. Darnell Jones, II J.
